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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                    8:07CR19
       vs.                                      )
                                                )                     ORDER
STEVEN PALMATEER,                               )
                                                )
                      Defendant.                )


       A hearing was held on June 12, 2007 regarding the Motion to Withdraw [95] filed by
Attorney Michael T. Levy. The court found that the attorney/client relationship was irretrievable
broken and the court informed the defendant that Mr. Levy would be given leave to withdraw
and substitute counsel would be appointed.

       IT IS ORDERED:

      1. The Motion to Withdraw [95] is granted, and the appearance of Michael T. Levy is
hereby deemed withdrawn.

        2. Pursuant to 18 U.S.C. §3006A(f), Adam J. Sipple is appointed as attorney of
record for the above-named defendant and shall forthwith file a written appearance in this
matter. Mr. Levy shall, forthwith, provide Mr. Sipple with the discovery materials provided the
defendant by the government and such other materials obtained by counsel which are material
to the defense of this case.

       3. The Federal Public Defender’s Office shall provide counsel with a draft appointment
order (CJA Form 20) bearing the name and other identifying information of the CJA Panel
attorney identified in accordance with the Criminal Justice Act Plan for this district.

        4. This case is returned to the trial docket and is set for a jury trial before the
Honorable Laurie Smith Camp, District Court Judge, to begin Tuesday, June 26, 2007 at 9:00
a.m. in Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South
18th Plaza, Omaha, Nebraska; because this is a criminal case, defendant(s) must be present
in person. Counsel will receive more specific information regarding the order of trial from Judge
Smith Camp’s staff.

       DATED June 13, 2007.

                                            BY THE COURT:

                                            s/ F.A. Gassed
                                            United States Magistrate Judge
